Case 1:10-cr-00317-REB Document 735-13 Filed 01/17/14 USDC Colorado Page 1 of 3
NOTICE OF AND RESCISSION OF DEFENDANT ARMSTRONG 'S

. MOTION FOR THE U.S. MARSHAL
TO PROVIDE BATTERIES FOR HEARING AIDS
FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 119 Filed 01/21/11 USDC Colorado Page 1 of
DEFENDANT .ARMSTRONG'S MOTION FOR THE U.S. MARSHAL TO PROVIDE BATTERIES FOR HEARING AIDS,
Page 2 of 2 Date: January 21,2011 David L. Owen, Jr." —

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong sentient moral being rescind the
original "Case 1:10-cr-00317-REB Document 119 Field 01/21/11 USDC Colorado Page 1 of 2
DEFENDANT ARMSTRONG'S MOTION FOR THE U.S. MARSHAL TO PROVIDE BATTERIES FOR HEARING AIDS,
Page 2 of 2 Date: January 21,2011 David L. Owen, Jr." including every copy for cause.

I made a mistake creating, preparing and filing the DEFENDANT ARMSTRONG'S MOTION FOR THE
U.S. MARSHAL TO PROVIDE BATTERIES FOR HEARING AIDS FOR CAUSE. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed.

1iny son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of you mouth; you are taken by the words of your mouth.” ?"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids.” °"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

Sincerely
UNITED STATES DISTRICT COURT
ENVER. COLORAD ,
Demen ©0 ° Libad pling Cp ncicdo
JAN 17 2014 Richard Kellogg Armstrong
c/o 20413~-298
JEFrisccy PR COLWELL Federal Correctional
CLERK Institution - Lompoc

3600 Guard Road
Lompoc, California

Footnotes: loroverbs 6:1, *Proverbs 6:2, >Proverbs 6:3, 4proverbs 6:4, 5proverbs 6:5
Attachment: “supra”

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
cc: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294
ce: David L. Owen, Attorney, c/o United States District Court 901 19th Street Denver, Colorado 80294

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-13 Filed 01/17/14 USDC Colorado Page 2 of 3
Case 1:10-cr-00317-REB Document 119 Filed 01/21/11 USDC Colorado Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Action No.: 10-cr-00317-REB

UNITED§$8TATES OF AMERICA,
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DEF T ARMST Ri Jigc'S MOTION FOR (HE U.S. MARSHAL TO:PROVIDE
j Awl ERIES FOR HE G AIDS

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Conp¥whow defendant, ACHARD KELLOGG ARMSTRONG, by and'theaygh his

attorney) L. Owen, Jr.,.o1 e'Law Office of David wen, Jr., P.C., and respectfully

requests ’s Order diregting pre United States Oe al to provide replacement batteries
for his he aids and in suppox thereof submits as follows tb
1. ‘ww June 21, 2010, M “Armstrong was detain d remanded into the, clitody of

the Unie Marshal pendi 4

2. . Armstrong has hq

v ey

¢dinpletion of the instant case. ~

ing problems and, in ourt hearings, has utilized the

*&

court provided hearing assistance
3. (Pye 21, 2011, Mapearing for a Motions Hearing pursuant to Court Order, Mr.

Armstrong was unable to effectivel} ‘hdar the Court even when provided the hearing assistance
&
equipment. It was subsequently learned the batteries in Mr. Armstrong’s hearing aids were

depleted thus rendering his ability to hear the Court non-existent. Mr. Armstrong utilizes #10
Case 1:10-cr-00317-REB Document 735-13 Filed 01/17/14 USDC Colorado Page 3 of 3
Case 1:10-cr-00317-REB Document 119 Filed 01/21/11 USDC Colorado Page 2 of 2

batteries.

4. The Code of Federal Regulations mandate the United States Marshal to care for and

™“l for the physical welfare of pretrial detainees. Title 28 CFR Part O, Subpart T §0.111(k).

With the replacement batteries in Mr. Armstrong’s hearing aids, he should be able to

hear rt and all other parties dyring court hearings.

WHEREFORE, the afd ersigned counsel respectfully requests this Gefirt’s Order

tn

    
    
  
     
  

direc QB. United States Marshal ¥}

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ye

y 21, 2011

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Py Law Qffice of David L. Owen, Jr., P.C.
8854\@NVliners St. ‘

Highl¥ad$Ranch, CO 80126 ~

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CER} BE Foe
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I here ify that on this January 2492011, I electronicafty filed the foregoing wittrthe Clerk
of CouNwagittg CM/ECF system whichgivil] send notifica ge obwch filing to the following email
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+ =

AUSA Kenneth Mark Harmon kenneth@karmon@usdoj.gox’ |

Ms. Nore Wayne, Esq. Lmonet2§(@4ol.com

and I HMeby certify that I have mdiled ¢
CM. articipant in the manner (m

name

te
asérved the doctiagafit or paper to the following non

, hand-delivery, et ) indicated by the non-participant's

*,

Richard Kellogg Armstrong /s/_David L. Owen, Jr.
: * Attorney Reg. No.: 39669
Law Office of David L. Owen, Jr., P.C.
8854 S. Miners St.
Highlands Ranch, CO 80126
(303) 993-7092

 

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